          Case 2:15-cv-00707-DJH Document 10 Filed 11/17/15 Page 1 of 1



 1
 2
 3
 4
 5
 6                         IN THE UNITED STATES DISTRICT COURT
 7                               FOR THE DISTRICT OF ARIZONA
 8
 9   Timothy Stephenson,                                No. CV-15-00707-PHX-DJH
10                          Plaintiff,                  ORDER
11   v.
12   United of Omaha Life Insurance Company,
     et al.,
13
                            Defendants.
14
15             The Court having received the parties' Stipulation of Dismissal (Doc. 9),

16             IT IS HEREBY ORDERED dismissing this action in its entirety, with prejudice,

17   each party to bear its own attorneys’ fees and costs.

18             IT IS FINALLY ORDERED directing the Clerk of Court to terminate this

19   action.
               Dated this 16th day of November, 2015.
20
21
22
23                                                   Honorable Diane J. Humetewa
                                                     United States District Judge
24
25
26
27
28
